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Supreme Court of the United States
Office of the Clerk
Washington, DC 20548-0001

Scott.S. Harris
Clerk of the Court

April 3, 2024 (202) 479-3011

Clerk

United States Court. of Appeals for the Fifth Circuit
600 S. Maestri Place

New Orleans, LA 70130

Re: Xavier Becerra, Secretary of Health and Human Services, et al.
v. Texas, et al.
No. 23-1076
(Your No. 23-10246)
Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on April
1, 2024 and placed on the docket April 3, 2024 as No. 23-1076.

Sincerely,
Scott 8. Harris, Clerk.
by

Susan Frimpong
Case Analyst

